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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION

 GREENWICH INSURANCE COMPANY,                       )
                                                    )
                                Plaintiff,          )
 v.                                                 )        Case No. 2:23-cv-02285-JTF-atc
                                                    )
 US ALL STAR FEDERATION d/b/a IASF,                 )
                                                    )
                                Defendant.          )


                            AMENDED SCHEDULING ORDER


       Before the Court is the parties’ Joint Motion to Extend Deadlines in Scheduling Order,

filed on December 14, 2023. (ECF No. 37.) The parties seek to extend the deadlines in the current

Scheduling Order consistent with extended pleading deadlines brought on by the filing of the first

amended complaint. (Id. at 1.) For good cause shown, the following deadlines in the Scheduling

Order are amended as follows:

 MOTIONS TO DISMISS:                                                           January 30, 2024

 COMPLETING ALL DISCOVERY:                                                        June 28, 2024

      a. WRITTEN DISCOVERY:                                                   February 23, 2024

      b. DEPOSITIONS:                                                           March 29, 2024

 DISCLOSURE OF PLAINTIFF’S                   RULE       26(a)(2) EXPERT           April 26, 2024
 INFORMATION:

 DISCLOSURE OF DEFENDANT’S RULE 26(a)(2) EXPERT                                   May 17, 2024
 INFORMATION:

 EXPERT WITNESS DEPOSITIONS:                                                      June 14, 2024

 MOTIONS TO EXCLUDE                      EXPERTS         UNDER     F.R.E.           July 5, 2024
 702/DAUBERT MOTIONS:

 FILING DISPOSITIVE MOTIONS:                                                    August 16, 2024

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MEDIATION: The parties are ordered to engage in ADR April 19, 2024. Pursuant to Local Rule

16.2(d), within 7 days of completion of ADR, the parties shall file a notice confirming that the ADR

was conducted and indicating whether it was successful or unsuccessful, without disclosing the

parties’ respective positions at the ADR.

       IT IS SO ORDERED this 15th day of December, 2023.

                                                     s/John T. Fowlkes, Jr.
                                                     JOHN THOMAS FOWLKES, JR.
                                                     UNITED STATES DISTRICT JUDGE




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